                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


 UNITED STATES OF AMERICA,                     )
                                               )
                        Plaintiff,             )
                                               )
 v.                                            )      No. 3:07-CR-51
                                               )      (Phillips / Shirley)
 JOHNNIE MARTIN,                               )
                                               )
                        Defendant.             )


                                 MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 ' 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. On February 20, 2008, this matter came before the Court for further

 proceedings. During the hearing, Defendant Johnnie Martin, acting pro se, made an oral motion

 ostensibly to suppress evidence. Mr. Martin stated the basis of the motion was that a search warrant

 for the Deerfield Road residence indicated that the issuing Magistrate Judge (the undersigned) had

 limited the scope of the search from that originally requested by striking out certain drugs to be

 searched for. When the Court inquired as to how this would be a basis for suppression, Mr. Martin

 stated he merely wanted to know why this was done. Mr. Martin stated his belief that the search

 warrant was also deficient because it did not include any indication of the owner of the property to

 be searched and he noted he had not received a copy of the affidavit upon which the search warrant

 issued. Because the trial is set in one week and because the deadline for filing motions has long

 expired, the Court denied the motion as untimely. However, the Court did grant Mr. Martin leave




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 to file a written motion to suppress and to take the matter up with District Judge Thomas W. Phillips

 if he objected to the undersigned’s ruling.

        In addition, the government noted that one of the charges against Mr. Martin is being a felon

 in possession of a firearm and inquired as to whether Mr. Martin would agree to an Old Chief

 stipulation as to the underlying felony or preferred to put the government to its proof. When the

 Court endeavored to explain this to Mr. Martin, Mr. Martin stated that he fully understood the nature

 of the request. The Court instructed AUSA David Jennings to prepare a written proposed stipulation

 for Mr. Martin to consider and to be transmitted to Mr. Martin by Attorney Donny Young.

        Wherefore, the oral motion to suppress is DENIED as filed out of time and beyond the

 motion filing deadline, with no good cause shown.

        IT IS SO ORDERED.

                                                       ENTER:


                                                         s/ C. Clifford Shirley, Jr.
                                                       United States Magistrate Judge




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